     Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 1 of 23 PageID #:2197




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
ANTHONY MAYS, et al.,                        )       Case No. 20-CV-2134
                                             )
              Plaintiffs,                    )       Hon. Matthew F. Kennelly,
                                             )
v.                                           )       in his capacity as Emergency
                                             )       Judge
THOMAS J. DART, Sheriff of Cook County,      )
                                             )       Hon. Robert W. Gettleman,
              Defendant.                     )
                                             )       District Court Judge
                                             )
                                             )       Hon. M. David Weisman,
                                                     Magistrate Judge




            DEFENDANT’S POST-PRELIMINARY INJUNCTION REPORT
     Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 2 of 23 PageID #:2198




        NOW COMES the Defendant, THOMAS J. DART, in his Official Capacity as

Sheriff of Cook County, and for his Report to the Court following the April 27, 2020

ruling, states as follows:

                                     INTRODUCTION

        Following the Court’s April 27, 2020, ruling on Plaintiffs’ Motion for Preliminary

Injunction, the Court directed Sheriff Dart to file a report regarding his implementation

of the Court’s directives as outlined in the Order. Dkt. 73, pp. 84-87. The April 27 Order

converted the terms of the prior temporary restraining order to a preliminary

injunction, and added an additional directive to implement “full” social distancing in

the Jail, subject to the six exceptions enumerated in the Order. This Report will

demonstrate the measures the Sheriff’s Office has taken following the April 27 ruling

and provide an update on the policies and procedures described in the Post-Ruling

Report filed on April 13, 2020, and presented at the evidentiary hearing on April 23,

2020. Dkt. 29-1, Dkt. 41, Dkt. 51, Dkt. 62.

I.      COVID TESTING

        In its April 27 Order, the Court directed the Sheriff to maintain and carry out a

policy requiring prompt coronavirus testing of: (1) detainees who exhibit symptoms

consistent with coronavirus disease; and (2) at medically appropriate times, detainees

who have been exposed to others who have exhibited those symptoms or have tested

positive for coronavirus. Dkt. 73, p. 85. This directive is similar to the one issued by the

Court in its April 9 Order on the temporary restraining order, but the Court has now

also ordered that “the appropriateness of testing…[must be] made pursuant to medical




                                              1
    Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 3 of 23 PageID #:2199




and public health considerations and not the availability of testing materials,”

additionally ordering the Sheriff to “acquire and maintain sufficient testing materials”

to fulfill this purpose. Dkt. 73, p. 85.

        As explained in the Sheriff’s prior filings, Cermak Health Systems administers all

nasopharyngeal (PCR) and ID Now rapid tests according to its policies and medical

protocols. Dkt. 51, p. 10. Cermak amended its Outbreak Prevention and Control Policy

B-01.6 to incorporate protocols for the specific handling and testing of suspected

COVID-19 cases. Dkt. 51, p. 10; Dkt. 52-2. According to Dr. Concetta Mennella,

Appendix B to the Outbreak Prevention Policy provides Cermak’s testing protocol to be

used during the COVID-19 pandemic. Dkt. 51, p. 11; Dkt. 52-2. Appendix B has been

amended to reflect that the appropriateness of medical testing is not dependent on the

availability of testing supplies. Ex. A, Cermak B-01.6, Appendix B, Amended.

        Consistent with the Court’s directives, Cermak continues to test symptomatic

detainees anywhere they may be within the Jail or at intake. Ex. B, Mennella Dec., ¶7.

Importantly, between March 18 and April 30, 2020, Cermak has administered more than

1,300 tests, over 1,100 of which were administered to unique individuals.1 Ex. B,

Mennella Dec., ¶5.

        Dr. Mennella also provided an updated testing protocol for asymptomatic

detainees (surveillance testing), within quarantine units and elsewhere in the Jail. Ex. B,

Mennella Dec., ¶8. According to Dr. Mennella, this updated testing protocol is based on


1
  Others of these tests are given to detainees who may have received a suspected false positive result, or
those who are transitioning out of medical isolation and into a convalescent unit. Ex. B, Mennella Dec.,
¶9.




                                                    2
   Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 4 of 23 PageID #:2200




guidance from the Centers for Disease Control, the Chicago Department of Public

Health, and Cook County Health Infection Control. Ex. B, Mennella Dec., ¶6. Dr.

Mennella stated that surveillance testing is conducted within the Jail’s quarantine units,

which house those detainees who have possibly been exposed to COVID-positive or

symptomatic detainees (persons under investigation). Ex. B, Mennella Dec., ¶8. Within

that population, priority is given to those quarantined detainees who also have pre-

existing conditions that may put them at greater risk of infection. Ex. B, Mennella Dec.,

¶8. According to Dr. Mennella, Cermak is also testing detainees who enter the Jail upon

intake; detainees who are being admitted to a Medical or Psychiatric Special Care Unit

within the Jail, which includes the Residential Treatment Unit (RTU) and the onsite

Cermak hospital unit, both in Division 8; and detainees who transition to another

facility, upon the request of that external facility. Ex. B, Mennella Dec., ¶8.

       The Sheriff has worked diligently in the past to have the Jail designated as one of

the first sites in the nation to receive ID Now rapid testing capabilities. Dkt. 51, p. 7. He

also facilitated the expedited delivery of rapid-testing technology to Cermak for use at

the Jail. Dkt. 29-1, pp. 6, 8. However, as the Court has previously recognized, Cermak

maintains the supplies for medical testing and it alone has the authority to administer

them. Dkt. 73, p. 11, 12 n.4. The Sheriff does not obtain medical tests on behalf of

Cermak or control Cermak’s medical operations. Dkt. 47, p. 36. Additionally, any

decisions about medical recommendations and medical care, including when testing is

medically appropriate, are made by Cermak alone, upon which the Sheriff is entitled to

rely. McCann v. Ogle, 9090 F.3d 881, 888 (7th Cir. 2018). While it is possible that testing



                                              3
   Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 5 of 23 PageID #:2201




supply shortages may occur at some point in the future, as has happened in the past on

a nationwide scale, to date, Cermak has not indicated to the Sheriff that it is in danger of

exhausting its supply of testing materials. If Cermak seeks the Sheriff’s assistance to

obtain expedited delivery of testing equipment in the future, he will assist to the extent

possible, as he has done in the past, by making inquiries of local authorities and

emergency management agencies as a courtesy.

       Finally, as described more fully in the Sheriff’s Post-Ruling Status Report, the

Sheriff enacted a policy, effective April 11, 2020, directing his correctional officers to

refer any detainees with suspected symptoms of COVID-19 to Cermak for further

evaluation and testing, if Cermak deems it medically appropriate under its testing

protocols. Dkt. 51, p. 13. Given the Court’s satisfaction with the Sheriff’s compliance on

this issue (Dkt. 73, p. 67), the Sheriff continues to successfully administer the “COVID-

19 Health Inquiry Referral for Medical Care, Testing or Other Medical Diagnostics

Procedure,” which coordinates the actions of DOC staff and Cermak in response to

situations where COVID-19 symptoms, or other flu-like symptoms, may be present.

Cermak’s Outbreak Prevention and Control Policy B-01.6 is specifically referenced in

the Health Inquiry Referral policy. Dkt. 51-6.

       The Sheriff’s staff also will continue to coordinate with Cermak to issue any

necessary quarantine alerts in the Jail based on Cermak’s evaluations. Dkt. 51-6. If

Cermak determines that a detainee must be isolated, it will notify the Watch

Commander, who must then request that the Classification Unit enter a “Quarantine

Alert” into the jail management system for that tier. Dkt. 51-6. Thus, while the Sheriff’s



                                              4
      Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 6 of 23 PageID #:2202




staff cannot itself make the medical determinations necessary to “require” prompt

testing of any detainees (Dkt. 73, p. 85), it will promptly notify Cermak that a detainee is

complaining of or displaying suspected COVID-19 symptoms and facilitate the process

by which Cermak must determine whether coronavirus testing is medically

appropriate. Dkt. 51-6.

II.      SOCIAL DISTANCING AT INTAKE

         The Court also directed the Sheriff to “enforce social distancing during the new

detainee intake process, including continued suspension of the use of bullpens and

other multiple-person cells or enclosures to hold new detainees awaiting intake.” Dkt.

73, p. 85. As the Court recognized in its Order, the Sheriff “implemented a modified

procedure that maintains six feet of distance between all detained persons awaiting

intake and provides them with facemasks. Use of the bullpens was discontinued.” Dkt.

73, p. 12. Although the Court only initially required social distancing for new detainees

upon intake into the Jail after being remanded to the Sheriff’s custody, the Sheriff

voluntarily extended this social distancing practice to arrestees upon their arrival at the

DOC facility, while they are awaiting bond hearings. Dkt. 51, p. 3. The Court

acknowledged that the Sheriff “has complied with the TRO by implementing social

distancing at intake.” Dkt. 73, p. 79.

         The Sheriff continues to implement these social distancing practices for arrestees

in the Reception Classification and Diagnostic Center (RCDC) upon their arrival at

DOC, and during the intake process. These arrestees and detainees also are given

surgical masks to wear as they make their way through these processes. They receive




                                              5
   Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 7 of 23 PageID #:2203




standard verbal screening questions for the presence of COVID-19 symptoms and any

known contact with an infected person, and have their temperature taken to screen for

signs of a fever. Dkt. 51, p. 4. If Cermak determines that an arrestee or detainee has a

fever or suspected COVID-19 symptoms at any point from the time of arrival at RCDC,

the individual is sent to testing isolation for further medical evaluation by Cermak. Dkt.

51, p. 4.

        To further prevent the introduction of coronavirus into the Jail, all detainees are

housed in a quarantine tier for 14 days before joining the general population.

Furthermore, as described above, pursuant to Cermak’s modified testing protocols,

these detainees also will receive COVID-19 tests at intake, even if they appear

asymptomatic. Ex. B, Mennella Dec., ¶8.

        Consistent with the Sheriff’s prior reporting, the number of arrestees arriving at

the Jail remains very low. On average, between April 12 and April 30, 2020,

approximately 34 arrestees were booked and released after their bond hearings. During

the same period, approximately 23 detainees were processed into the Jail after being

remanded to the Sheriff’s custody. Ex. C, Declaration of Michael Miller.

        The Sheriff previously reported that these modified social distancing practices

could be maintained while the number of arrestees and detainees remained low.

However, as noted, a sharp increase in the intake population will affect the Sheriff’s

ability to maintain these modified processes. In his declaration, Chief of Staff Brad

Curry attested that the Sheriff’s Office was evaluating a contingency plan to hold

arrestees and detainees in an unoccupied tier where they would be single-celled as they



                                              6
   Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 8 of 23 PageID #:2204




awaited processing. Dkt. 52-1. To date, it has not been necessary to implement this

contingency plan. The unoccupied tier remains designated for intake overflow, but that

may need to be reevaluated in light of the new demands for single-celled housing as a

result of the new “full” social distancing requirements imposed by the Court’s April 27

Order, as discussed more fully in section IV below.

III.     SANITATION/PPE

         The Court’s Order also directed the Sheriff to continue his efforts to provide

adequate sanitation supplies and personal protective equipment (PPE) to detainees

throughout the Jail. Specifically, the Court ordered the Sheriff to: (A) provide soap

and/or hand sanitizer to all detainees in quantities sufficient to permit them to

frequently clean their hands; (B) provide sanitation supplies sufficient to enable all staff

and detainees to regularly sanitize surfaces and objects on which the virus could be

present, including frequently-touched surfaces, and to ensure that sanitization occurs

regularly; and (C) provide facemasks to all detainees in quarantine tiers, replacing them

when medically appropriate, and provide instruction on use of facemasks. Dkt. 73, p.

85-86.

         The Court acknowledged that the Sheriff “has complied with the TRO

by…developing and implementing a plan to distribute soap, sanitizer, and cleaning

suppliers [sic] more frequently; and providing facemasks to detained persons housed

on tiers under quarantine.” Dkt. 73, p. 79. The Sheriff enacted the Amended Sanitation

Guidelines Specific to COVID-19 Procedure, and as the Court noted, these “enhance[d]

sanitation practices” continue to be diligently carried out. Dkt. 73, p. 56; Dkt. 51-4.



                                              7
      Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 9 of 23 PageID #:2205




           The Sheriff’s Office staff has created one integrated chart showing the date and

time of distribution of soap, facemasks, and sanitation supplies, as well as the quantities

distributed. Ex. D, Supply Log.2 As previously reported, the Sheriff continues to

distribute soap and/or hand sanitizer to detainees twice per week. Posted notices and

video monitors on the tiers and at intake reinforce the need for sanitation and hygienic

practices to prevent the spread of COVID-19 in the Jail. These notices include signs

reinforcing the importance of proper hygiene, regular hand washing, and social

distancing, with illustrations of each. Dkt. 51-3; Ex. G, Presentation to Detainees. These

notices also include detailed information from the World Health Organization on how

to properly put on and take off masks, and the importance of wearing masks. Ex. G,

Presentation to Detainees.

           The Sheriff’s Office staff also continues to distribute sanitation supplies including

Sanifect, bleach, Clorox wipes, Envirocare, Lysol spray, several times a week as needed

to enable staff and detainees to sanitize areas where the virus could be present. In

addition to the regular completion of supply delivery logs and sanitation inspection

logs maintained by the living unit officers, members of the CCDOC Sanitation Audit

Team tour all divisions of the Jail and inspect the cleanliness of each area. Ex. C,

Sanitation Team Divisional Report. Members of the sanitation team comment on the

officers’ efforts to keep their divisions clean, noting how a division “keeps getting

cleaner every time we complete these rounds,” and how the officers “take great pride”




2
    Ex. E and Ex. F are examples of the documents that support the summary supply log.



                                                          8
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 10 of 23 PageID #:2206




in their divisions. Ex. H, Sanitation Team Divisional Report, p. 4. Often, sanitation team

members will even note observations of good social distancing practices by detainees,

social distancing enforcement efforts by officers, and proper use of facemasks. Ex. H,

Sanitation Team Divisional Report, pp. 2-5.

       This is consistent with reports from public health agency representatives who

toured the Jail on April 17, 2020. CDC Epidemiologists Paige Armstrong and Alison

Binder, CDC Epidemic Intelligence Service Officer Isaac Ghinai, and CDPH Medical

Director Stephanie Black visited the Jail as part of an ongoing collaboration with the Jail.

According to CCSO Senior Advisor Rebecca Levin, who also attended the tour, these

officials “commented frequently on the cleanliness of the facility and the noticeable

smell of bleach throughout.” They also observed detainees and staff members actively

cleaning. Dkt. 70, ¶14.

       As to PPE, the Court ordered only that detainees on quarantine tiers and in areas

where social distancing is not possible must receive surgical facemasks. However, the

Sheriff has been voluntarily providing all detainees in the Jail with surgical facemasks

on a daily basis since April 13, which are replaced as needed. Dkt. 73, p. 56. The Sheriff

has been successful in obtaining a steady supply of these facemasks and has nearly

420,000 on hand currently, which will last into August at current usage rates. Ex. C,

Declaration of Michael Miller.

       In addition to supply delivery logs maintained by the living unit officers,

members of the CCDOC Personal Protective Equipment (PPE) Accountability Team

tour all divisions of the Jail and inspect each area for cleanliness and PPE usage. Ex. I,



                                              9
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 11 of 23 PageID #:2207




PPE Team Report. Members of the PPE team verify the amount of supplies on hand in

the divisions, document usage of PPE by detainees and staff, and remind detainees and

staff to practice social distancing. Ex. I, PPE Team Report. They also record other

observations, such as cleanliness of common areas, the presence of Cermak nurses

taking temperature checks on the tiers, and the need for any additional supplies. Ex. I,

PPE Team Report, pp. 10-15. This, too, is consistent with observations by the CDC and

CDPH representatives during their April 17 tour. Dkt. 70, ¶15.

IV.    “FULL” SOCIAL DISTANCING

       Finally, the Court’s Order directs the Sheriff to establish a policy prohibiting

group housing or double-celling of detainees, except in certain situations, effective May

1, 2020. While the Court initially declined to order “full” social distancing in housing

areas throughout the Jail in its April 9 Order, recognizing the infeasibility of

accomplishing that in light of space constraints, the Sheriff has nevertheless been

making “significant efforts” to increase social distancing where possible at the Jail. Dkt.

73, p. 14; Dkt. 61, p. 18-19. Specifically, the Court recognized the Sheriff’s voluntary

efforts to open previously closed divisions of the Jail to accommodate more housing;

convert 175 tiers to single-occupancy cells; limit dormitory units to fifty percent of

capacity outside of the medical and mental health housing units; and regulating

detainees’ use of dayrooms and common areas. Dkt. 73, p. 14, 79. This housing

reconfiguration was made possible in part because of a decrease in the Jail population

since mid-March, due to the efforts of the State’s Attorney, the Public Defender, and the

criminal courts to secure the pretrial release of nearly 1,500 detainees, and reassignment



                                             10
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 12 of 23 PageID #:2208




of nearly 500 detainees to the electronic home monitoring program. Dkt. 73, p. 15; Dkt.

62-4, ¶7-8; Ex. C, Declaration of Michael Miller.

       Nevertheless, while the Court and Plaintiffs have recognized the “dramatic

steps” taken by the Sheriff to voluntarily implement social distancing at the Jail

wherever possible (Dkt. 73, p. 18), the Sheriff candidly reported that he could not

accomplish “full” social distancing throughout the Jail at this time because of certain

housing restrictions, like detainee medical conditions, security classifications and

concerns, and quarantine or isolation status, among other things. Dkt. 61, p. 19.

       The Court credited some of these functional limitations and created several

exceptions to its “full” social distancing directive in this Order. The Sheriff may not

double-cell detainees or assign them to group housing, except in the following

situations:

       1.     Persons detained in tiers or dormitories currently under quarantine
              following a positive test for the coronavirus within the tier or dormitory
              (“quarantine tiers”);

       2.     Detained persons who have tested positive for the coronavirus and are
              under medical observation ("isolation tiers");

       3.     Detained persons who have tested positive for coronavirus and are
              recovering ("convalescent tiers");

       4.     Double-celled or dormitory-housed detainees for whom there is a
              documented determination by a medical or mental health professional
              that single-celling poses a risk of suicide or self-harm;

       5.     Persons detained housed in a dormitory unit that is at less than fifty
              percent capacity; and

       6.     Detained persons committed, at the documented direction of a medical or
              mental health professional, to a group housing unit that is equipped for
              medical or mental health treatment, if but only if there is not available



                                            11
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 13 of 23 PageID #:2209




               space in an appropriate housing or medical unit that permits full social
               distancing. Dkt. 73, p. 86.

       Pursuant to this directive, the Sheriff enacted “Preliminary Injunction Order:

Housing of Detainees During COVID-19 Pandemic,” effective May 1, 2020. The policy

sets forth the Court’s requirements for social distancing in housing units, subject to the

enumerated exceptions. Ex. J, CCSO Housing Policy. This policy is administered in

conjunction with Cermak, given that all but one of the exceptions is premised on a

documented medical determination made by Cermak staff. Based on the current Tier

Occupancy Chart, 184 of 206 housing units are at 50% capacity or less. The remaining

units fall within one or more of the following exceptions. Ex. K, Tier Occupancy Chart,

May 1, 2020.

       1.      Quarantine tiers

       As described elsewhere in the Sheriff’s briefing, when a watch commander

receives verification from Cermak that a detainee will be isolated after testing positive

for COVID-19 or is a PUI, then a quarantine alert is issued for that detainee’s entire tier.

Dkt. 30-8, ¶19(a); Dkt. 62-5; Dkt. 51-6. The tier remains on quarantine for 14 days. As the

Court noted, it is not advisable to move any detainees while on quarantine. Dkt. 73, p.

64. Thus, any housing arrangements must remain as they are until the expiration of the

quarantine period. The Tier Occupancy Chart, updated on May 1, 2020, shows that

there are currently 47 tiers on quarantine status, 7 of which are specialty housing dorms

within Division 8 RTU, and fall under exception 6 as well. It is also worth noting that 42




                                             12
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 14 of 23 PageID #:2210




of these quarantine tiers are at 50% occupancy or less, and fall under exception 5. Ex. K,

Tier Occupancy Chart, May 1, 2020.

       2.      Isolation tiers

       Cermak makes all medical determinations as to whether a detainee must be

placed in medical isolation after testing positive for coronavirus. The CDC Guidelines

advise that individuals who have tested positive for COVID-19 can be in “cohort” or

congregate housing in medical isolation and need not practice strict social distancing

since they have already contracted the virus. Dkt. 73, p. 64; Dkt. 30-8, ¶19(b); Dkt. 62-5.

There are currently 16 tiers on isolation status, all but two of which are in Division 8

Cermak or RTU. They are occupied at a density above 50%, but in addition to their

isolation status, they fall under exception 6 as well. One isolation area is a single-celled

tier in Division 10, and the other is the Boot Camp unit. Ex. K, Tier Occupancy Chart,

May 1, 2020.

       3.      Convalescent tiers

       Cermak makes all medical determinations as to whether a detainee is in recovery

and may be moved to a convalescent tier. Ex. B, Mennella Dec., ¶9. The CDC Guidelines

advise that convalescent tiers with recovering detainees may have cohort housing as

well. Dkt. 73, p. 64. There are currently two tiers designated as convalescent, one of

which is in Division 10, and one of which is in Division 8 RTU. Ex. K, Tier Occupancy

Chart, May 1, 2020.




                                             13
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 15 of 23 PageID #:2211




       4.     Risk of self-harm

       Cermak staff advise that there may be a small number of detainees in poor

mental health who may experience suicidal ideation or engage in other types of self-

harm if they are assigned to a single cell and do not have sufficient socialization. Dkt.

61, p. 22. If these individuals are not already assigned to special medical housing in

Cermak or RTU, see exception 6 supra, they may be housed in dorms or double-celled

under this exception.

       5.     Dormitories with less than fifty percent occupancy

       Currently, there are 59 dormitory tiers, 43 of which are occupied at 50% capacity

or less. This is up from 40 dorms at the time of the evidentiary hearing. In the Order, the

Court specifically noted that at the time of the hearing, Division 2, Tier D1-D was at 81%

capacity. Dkt. 73, p. 21. This tier housed the population of 39 detainees who were in

protective custody for reasons associated with the PREA. Pursuant to the Court’s

ruling, they have been reassigned to different housing units that permit them to practice

“full” social distancing. Dkt. 73, p. 65. However, they also will be housed near other

groups of detainees in this tier, which makes it more difficult to guarantee their

protection than in Division 2. Additionally, Division 2, Tier D4-RL was at 59%

occupancy at the time of the hearing (Dkt. 73, p. 21). But half of those detainees were

moved to Tier D4-RU (previously closed), and now each tier has 30% and 24%

occupancy, respectively. Ex. K, Tier Occupancy Chart, May 1, 2020. Furthermore, since

the hearing, Executive Director Miller has executed his “back pocket” plan to

reconfigure housing arrangements among the men’s and women’s tiers to use the space



                                            14
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 16 of 23 PageID #:2212




in the celled tiers and the dorms more efficiently. Dkt. 73, p. 22; Ex. C, Declaration of

Michael Miller.

       Currently, sixteen dorms are over 50% capacity, but all fall within at least one of

the permitted exceptions: one is a convalescent tier; five are quarantine tiers; six are

isolation tiers; and four are specialty medical housing tiers in RTU. Ex. K, Tier

Occupancy Chart, May 1, 2020. It bears noting that during the April 17 Jail tour, CDPH

representatives commented on the notable increase in social distancing at the Jail,

particularly with respect to the reduced density of bunk assignments in the dorms,

since their last visit in March. Dkt. 70, ¶15; Dkt. 73, p. 13-14.

       6.     Group housing for medical or mental health treatment

       During the intake process, Cermak staff members perform a standard medical

evaluation of each detainee. Dkt. 51, p. 6. Based on these evaluations, Cermak staff may

enter a “medical alert” into the DOC communication system alerting DOC staff

generally of a medical condition that may affect operational decisions as to that

detainee, such as special dietary needs, whether he is permitted to have a medical

device like an inhaler that will not be confiscated as contraband, or any special housing

needs. Dkt. 62, p. 24; Dkt. 73, p. 19.

       Some of the more important medical alerts pertain to housing requirements for

detainees with serious medical or mental health conditions. Where Cermak staff assign

a detainee an M3 alert, it indicates that the patient requires housing with a round-the-

clock nurse and access to special accommodations, and the recommended housing unit

is the RTU. Ex. L, Cermak Policy A-08, Communication on Patient’s Health Needs, p. 6.



                                              15
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 17 of 23 PageID #:2213




If a Cermak staff member assigns a detainee an M4 designation, it indicates that the

detainee requires monitoring and care in an environment with direct access to a nurse,

and the recommended housing unit is Cermak. Ex. L, Cermak Policy A-08,

Communication on Patient’s Health Needs, p. 6.

       Similarly, a detainee designated as a P3 has moderate or serious symptoms; some

impairment in reality testing or communication; and/or moderate to serious

impairment in social and overall functioning, and is similarly suited for the RTU. A

detainee with a P4 designation suffers from severe functional impairment with

regression, disorganization, and chaotic functioning, and/or behavior related to major

mental illness that results in imminent risk of harm to self or others and is

recommended for housing in Cermak. Unit. Ex. L, Cermak Policy A-08, Communication

on Patient’s Health Needs, p. 7. These tend to be permanent or long-term housing

placements due to the detainee’s need for extensive medical or psychological care or

monitoring. Because of these special medical and housing needs, these detainees cannot

be housed in the general population tiers. Ex. C, Declaration of Michael Miller. Thus,

Cermak and RTU are exempt from full social distancing because the detainees reside

there for the purpose of obtaining medical or mental health treatment at the

documented direction of a medical or mental health professional, which takes

precedence over “full” social distancing.

       At any given time, the residents of Division 8 may not be able to practice “full”

social distancing depending on the number of other detainees also assigned to those

units. Dkt. 73, p. 21-22. Currently, as a function of the number of detainees in Cermak,



                                            16
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 18 of 23 PageID #:2214




half of the tiers are occupied at more than 50%, although one of those tiers is an

isolation tier as well. Slightly more than half of the tiers in RTU are occupied at more

than 50% also, although nearly all of them are quarantine or isolation tiers. Ex. K, Tier

Occupancy Chart, May 1, 2020.

       The Court also instructed that detainees housed in these “acceptable”

arrangements must be provided with facemasks that are replaced at medically

appropriate intervals and be instructed on how and why they are used, as well as the

need for social distancing. Dkt. 73, p. As stated above, for the past three weeks, every

detainee in the Jail has been given at least one surgical facemask each day. Additionally,

notices and video monitors in the tiers display information about the need for sanitation

and hygienic practices to prevent the spread of COVID-19, and reinforce the importance

of proper hygiene, regular hand washing, and social distancing, with illustrations of

each. Dkt. 51-3.

       7.     Safety and security exception

       The Court declined to create a safety and security exception to the social

distancing requirement that would allow officers to regain control in situations

involving disorderly or dangerous conduct by detainees, but invited the Sheriff to

submit a supplemental and properly-supported request for such an exception. Dkt. 73,

p. 65. In his declaration, Executive Director Miller stated that particularly when

multiple detainees become involved in fights or other incidents at the Jail, ordinarily

they are separated immediately, removed from the situation, and held in special

management tiers so officers can tend to any injuries and regain control of the emergent



                                            17
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 19 of 23 PageID #:2215




situation. Ex. C, Declaration of Michael Miller, p. 12. The detainees also would remain

in those special management tiers to await a disciplinary hearing or other consequences

for their unruly or dangerous behavior. Dkt. 62-5, ¶20. Currently, because of the social

distancing requirement, many of the special management tiers are being used for

single-cell housing, and detainees cannot be double celled.

       However, responding to security situations at any given time is a fluid situation,

despite the officers’ best efforts, and they must be able to use all devices available to

them to maintain order and safety in the Jail. There have recently been an increasing

number of incidents involving multiple detainees acting in concert in response to

measures implemented by the Sheriff in response to the COVID-19 outbreak. For

example, on April 29, there was a detainee uprising in RTU Tier 3G, which is currently

housing many detainees who would not otherwise be assigned to a dormitory setting

based on their security classifications in the Jail. Ex. C, Declaration of Michael Miller,

Ex. 1. At least 13 detainees were involved in threatening bodily harm to any staff

members entering the tier. Medical equipment was broken to be used as weapons and

soapy water was spread all over the floor. The Emergency Response Team was required

to respond and numerous detainees were handcuffed and removed from the tier.

       Incidents like this one require that all of those detainees—13 in this case—be

placed in disciplinary housing for security and safety reasons on an immediate basis.

Given that those special management tiers are now being occupied as single-cell

housing units, that impedes the Sheriff’s ability to detain the offenders and quell an

emergent situation by having to defer to the social distancing policy. There are limited



                                             18
     Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 20 of 23 PageID #:2216




housinoptions available due to the social distancing requirement, but time is of the

essence in situations like this. If similar incidents continue to occur, and continue to

escalate, safety and security will have to take precedence, and it will not always be

possible to maintain full social distancing when an emergency or security related

situation requires that the offender(s) be immediately removed and isolated.

V.       THE FEASIBILITY LIMIT

         While the Court acknowledges the “significant and impressive” efforts taken by

the Sheriff “in good faith” to protect detainees from the spread of infection (Dkt. 73, p.

56)—including, among many other things, the extraordinary step of opening several

dormant divisions of the Jail to provide additional socially-distanced housing—the

Sheriff has been, and will continue to be, candid with the Court about the limitations on

his ability to maintain “full” social distancing at the Jail for the foreseeable future,

despite his best efforts. Dkt. 62, p. 20. The Sheriff, and Executive Director Michael Miller

in particular, have been able to make further adjustments to reduce occupation density

in group housing units, even in the week since the evidentiary hearing, to achieve full

compliance with the Court’s Order as of the time of this filing.

         However, it is likely that the Sheriff will at some point approach the “feasibility

limit” of housing any more detainees while maintaining “full” social distancing

throughout the Jail. Dkt. 73, p. 63. As the Court is aware, while the Jail campus is one of

the largest in the nation, detainee housing options are limited when the tiers can only be

occupied at half capacity. And unfortunately, the detainee population in Cook County

is not a static one. Historically, the Jail experiences a sharp rise in the intake population



                                              19
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 21 of 23 PageID #:2217




as the weather grows warmer, and there is little reason to think that will be different

this year. In fact, the first warm Spring weekend may now be upon us, and the officers

are bracing for a wave of new detainees. However, the resources at the Jail are reaching

their limit already under the Court’s Order. A sudden spike in the Jail population in the

near term would upend the delicately balanced housing arrangements currently in

place, and there are few alternatives left that would allow the Jail to operate effectively

and still permit “full” social distancing throughout the Jail.

       It is possible that the emergency nature of this pandemic will subside before the

Jail’s space and resources are fully depleted. In the event it does not, the Sheriff may do

as the Court suggests and seek to modify the terms of the injunction in full

consideration of all relevant factors. Dkt. 73, p. 87. In that case, the Sheriff would

continue to act in good faith to implement the letter and spirit of the Court’s order, as

he has done, and to maintain as much social distancing as operationally possible until

any resolution by the Court. But with the benefit of experience on historic trends in the

Jail population, before long, the Sheriff’s overriding obligation to preserve order,

maintain discipline, and provide security at the Jail may very well have to be balanced

directly against his obligation to reasonably abate the risk of harm from coronavirus.




                                             20
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 22 of 23 PageID #:2218




                                     CONCLUSION

      Sheriff Dart respectfully submits this Post-Preliminary Injunction Report for the

Court’s consideration pursuant to its April 27, 2020 Order.

                                                   By: /s/ Gretchen Harris Sperry
                                                   One of the attorneys for Defendant
                                                   Thomas J. Dart, Sheriff of Cook
                                                   County

Robert T. Shannon
James M. Lydon
Gretchen Harris Sperry
Adam R. Vaught
Lari Dierks
HINSHAW & CULBERTSON LLP
151 N. Franklin Street, Suite 2500
Chicago, Illinois 60601
Tel. 312-704-3000




                                           21
  Case: 1:20-cv-02134 Document #: 84 Filed: 05/01/20 Page 23 of 23 PageID #:2219




                              CERTIFICATE OF SERVICE

       The undersigned certifies that on May 1, 2020, I electronically filed the forgoing
DEFENDANT’S POST-PRELIMINARY INJUNCTION REPORT with the Clerk of the
U.S. District Court, using the Court’s CM/ECF system, which will accomplish service
electronically on all counsel of record.


                                                /s/ Gretchen Harris Sperry




                                           22
